    Case 1:25-cv-10548-MJJ   Document 72   Filed 03/21/25   Page 1 of 17




          United States Court of Appeals
                       For the First Circuit


No. 25-1244

STATE OF CALIFORNIA; COMMONWEALTH OF MASSACHUSETTS; STATE OF NEW
JERSEY; STATE OF COLORADO; STATE OF ILLINOIS; STATE OF MARYLAND;
             STATE OF NEW YORK; STATE OF WISCONSIN,

                       Plaintiffs, Appellees,

                                   v.

   U.S. DEPARTMENT OF EDUCATION; LINDA MCMAHON, in her official
    capacity as Secretary of Education; DENISE CARTER, in her
 official capacity as Acting Chief Operating Officer for Student
                               Aid,

                       Defendants, Appellants.


          APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

              [Hon. Myong J. Joun, U.S. District Judge]


                                 Before

                  Gelpí, Kayatta, and Montecalvo,
                          Circuit Judges.


     Yaakov M. Roth, Acting Assistant Attorney General, Leah B.
Foley, U.S. Attorney, Eric D. McArthur, Deputy Assistant Attorney
General, Mark R. Freeman, Daniel Tenny, Sean R. Janda, and Brian
J. Springer, Attorneys, Appellate Staff, U.S. Department of
Justice, on brief for appellants.
     Rob Bonta, Attorney General of California, Michael J. Mongan,
Solicitor General, Helen H. Hong, Principal Deputy Solicitor
General, Christopher D. Hu, Joshua Patashnik, Deputy Solicitors
General, Michael Newman, Senior Assistant Attorney General, Laura
L. Faer, Supervising Deputy Attorney General, Alexis Piazza, Heidi
    Case 1:25-cv-10548-MJJ   Document 72   Filed 03/21/25   Page 2 of 17



Joya, Garrett Lindsey, Deputy Attorneys General, Andrea Joy
Campbell, Attorney General of Massachusetts, Megan Barriger,
Senior Trial Counsel, Adelaide Pagano, Assistant Attorney General,
Yael Shavit, Chief of Consumer Protection Division, David Kravitz,
State Solicitor, Chris Pappavaselio, Matthew Lindberg, Assistant
Attorneys General, Matthew J. Platkin, Attorney General of New
Jersey, Lauren E. Van Driesen, Elizabeth R. Walsh, Deputy Attorneys
General, Stephen Ehrlich, Deputy Solicitor General, Philip J.
Weiser, Attorney General of Colorado, David Moskowitz, Deputy
Solicitor General, Kwame Raoul, Attorney General of Illinois,
Darren Kinkead, Public Interest Counsel, Sarah A. Hunger, Deputy
Solicitor General, Anthony G. Brown, Attorney General of Maryland,
Virginia A. Williamson, Assistant Attorney General, Joshua L.
Kaul, Attorney General of Wisconsin, Aaron J. Bibb, Assistant
Attorney General, on brief for appellees.


                             March 21, 2025
     Case 1:25-cv-10548-MJJ   Document 72    Filed 03/21/25    Page 3 of 17



           KAYATTA, Circuit Judge.          Concerned that there are too

few qualified teachers and principals in various communities,

Congress directed the Secretary of Education (the "Secretary") to

use certain funds to make grants to entities providing, among other

things, for the recruitment and training of teachers and school

leaders for traditionally underserved local educational agencies.

20 U.S.C. §§ 1022, 1022a, 6671(1), 6672(a).               After conducting a

competitive   application     process,      the    Secretary     awarded,     as

relevant here, 109 grants for Teacher Quality Partnership (TQP)

and Supporting Effective Educator Development (SEED) programs,

which in large part were up and running until the agency action

that gave rise to this litigation.

           On February 7, 2025, or shortly thereafter, 104 of those

109 programs received boilerplate letters from the U.S. Department

of   Education     (collectively      with        other    appellants,        the

"Department") purporting to terminate their grants midstream.                 The

letters stated in pertinent part:

           The grant specified above provides funding for
           programs that promote or take part in
           [diversity, equity, and inclusion (DEI)]
           initiatives    or   other    initiatives   that
           unlawfully discriminate on the basis of race,
           color, religion, sex, national origin, or
           another    protected    characteristic;    that
           violate either the letter or purpose of
           Federal civil rights law; that conflict with
           the Department's policy of prioritizing merit,
           fairness, and excellence in education; that
           are   not   free   from    fraud,   abuse,   or
           duplication; or that otherwise fail to serve


                                   - 3 -
      Case 1:25-cv-10548-MJJ    Document 72   Filed 03/21/25    Page 4 of 17



            the best interests of the United States. The
            grant is therefore inconsistent with, and no
            longer effectuates, Department priorities.

            As the careful reader will note, the letters do not

specify why any given program is no longer "[]consistent with" and

no longer "effectuates[] Department priorities."                   Rather, the

letters list in the disjunctive five possible reasons.

            Presented    with    a   complaint    by    eight     states       (the

"States") within which operate numerous affected grant recipients,

the district court issued a temporary restraining order (TRO)

requiring the Department to, among other things, restore the status

quo   as   it   stood   prior   to   the   purported    terminations.          The

Department has since appealed the TRO.             It also now asks us to

stay the district court's order pending the resolution of this

appeal.    This opinion concerns only that motion for a stay pending

appeal.    We deny that motion for the following reasons.

                                      I.

            As a preliminary matter, the States claim that we lack

appellate jurisdiction to review a TRO.                See 28 U.S.C. § 1291

(confining federal appellate jurisdiction largely to the review of

lower courts' final decisions); Calvary Chapel of Bangor v. Mills,

984 F.3d 21, 27 (1st Cir. 2020) (stating that appellants carry the

burden of demonstrating TRO reviewability).              "[T]he denial of a

[TRO] does not normally fall within the compass of [§] 1292(a)(1)"

and so generally is not immediately reviewable.                Calvary Chapel,


                                     - 4 -
    Case 1:25-cv-10548-MJJ    Document 72    Filed 03/21/25    Page 5 of 17



984 F.3d at 27.    Nevertheless, in this instance the district court

orally heard the Department on at least some of the central issues

prior to issuing the TRO.         See Sampson v. Murray, 415 U.S. 61, 87–

88 (1974) (treating a purported TRO as a preliminary injunction

for reviewability purposes in part because "an adversary hearing

ha[d] been held").      In any event, our precedent allows us to assume

statutory jurisdiction when the party asserting it will not obtain

its requested relief even were there jurisdiction.                 See United

States v. Pedró-Vidal, 991 F.3d 1, 4 (1st Cir. 2021).             We therefore

opt to sidestep the arguable statutory jurisdictional defect at

least for the purposes of addressing the motion to stay pending

appeal.

                                      II.

            In assessing the merits of the motion to stay pending

appeal, we consider four factors: "(1) whether the stay applicant

has made a strong showing that [it] is likely to succeed on the

merits; (2) whether the applicant will be irreparably injured

absent a stay; (3) whether issuance of the stay will substantially

injure    the   other   parties    interested   in   the      proceeding;     and

(4) where the public interest lies."            Nken v. Holder, 556 U.S.

418, 426 (2009) (citation omitted).          "The first two factors . . .

are the most critical."      Id. at 434.




                                     - 5 -
       Case 1:25-cv-10548-MJJ    Document 72   Filed 03/21/25   Page 6 of 17



                                       A.

             As to the first factor, our discussion at this point

assesses only the likelihood of success on the merits as the record

now stands and does not constitute a holding on the merits.

             We begin with two challenges by the Department to the

district court's ability to review the termination of the grants.

                                       1.

             First, the Department claims that the district court

itself lacked jurisdiction to entertain this lawsuit, which the

Department argues belongs in the Court of Federal Claims.                 See 28

U.S.C. § 1491(a)(1) (granting jurisdiction to the Court of Federal

Claims for any action against the government "upon any express or

implied contract with the United States").             The Department points

to the fact that each grant award takes the form of a contract

between the recipient and the government.            "But the mere fact that

a court may have to rule on a contract issue does not, by triggering

some     mystical     metamorphosis,        automatically       transform      an

action . . . into one on the contract and deprive the court of

jurisdiction it might otherwise have."            Megapulse, Inc. v. Lewis,

672 F.2d 959, 968 (D.C. Cir. 1982).            Here, although the terms and

conditions of each individual grant award are at issue, the

"essence," id., of the claims is not contractual.                  Rather, the

States    challenge    the      Department's   actions     as   insufficiently

explained,     insufficiently      reasoned, and otherwise contrary to


                                      - 6 -
      Case 1:25-cv-10548-MJJ       Document 72    Filed 03/21/25   Page 7 of 17



law -- arguments derived from the Administrative Procedure Act

(APA), 5 U.S.C. § 706(2)(A).             The States' claims are, at their

core, assertions that the Department acted in violation of federal

law -- not its contracts.           Simply put, if the Department breached

any contract, it          did so by violating the APA.                   And if the

Department did not violate the APA, then it breached no contract.

In the words of the Tenth Circuit, "when a party asserts that the

government's       breach     of     contract     is       contrary     to   federal

regulations, statutes, or the Constitution, and when the party

seeks    relief    other    than    money   damages,       the   APA's    waiver   of

sovereign immunity applies and the Tucker Act does not preclude a

federal district court from taking jurisdiction."                  Normandy Apts.,

Ltd. v. HUD, 554 F.3d 1290, 1300 (10th Cir. 2009); see also

Megapulse, 672 F.2d at 968, 970 (upholding a district court's

jurisdiction where "[a]ppellant's position is ultimately based,

not   on    breach   of    contract,     but     on   an    alleged   governmental

infringement of property rights and violation of the Trade Secrets

Act").

              Nor do the States seek damages owed on a contract or

compensation for past wrongs.            See Megapulse, 672 F.2d at 968–70

(considering, in a Tucker Act analysis, "the type of relief sought

(or appropriate)").           Rather, they want the Department to once

again      make   available    already-appropriated           federal     funds    for

existing grant recipients.             And as the Supreme Court has made


                                        - 7 -
       Case 1:25-cv-10548-MJJ      Document 72        Filed 03/21/25      Page 8 of 17



clear, "[t]he fact that a judicial remedy may require one party to

pay money to another is not a sufficient reason to characterize

the relief as 'money damages.'"              Bowen v. Massachusetts, 487 U.S.

879, 893 (1988).         As a result, we see no jurisdictional bar to the

district court's TRO on this basis.                       See id. at 900–01 (holding

that    a    district    court     could   hear       a    claim    for    an   injunction

requiring the government to pay certain Medicaid reimbursements

because it was "a suit seeking to enforce the statutory mandate

itself, which happens to be one for the payment of money," and

"not a suit seeking money in compensation for the damage sustained

by the failure of the Federal Government to pay"); Megapulse, 672

F.2d at 970–71 (explaining, in a Tucker Act case, that "the mere

fact    that    an    injunction     would       require      the   same    governmental

restraint      that     specific    (non)performance           might       require     in   a

contract setting is an insufficient basis to deny a district court

the jurisdiction otherwise available").

                                            2.

               The Department also contends that these terminations are

part    of     the    "narrow[]"     class       of       agency    actions     that     are

unreviewable in federal court.               Dep't of Comm. v. New York, 588

U.S. 752, 772 (2019) (citation omitted); see 5 U.S.C. § 701(a)(2)

(exempting from judicial review agency action "committed to agency

discretion by law"); see, e.g., Lincoln v. Vigil, 508 U.S. 182,

185, 190–94 (1993) (labeling "unreviewable" the Indian Service's


                                           - 8 -
     Case 1:25-cv-10548-MJJ   Document 72   Filed 03/21/25    Page 9 of 17



decision to stop funding a program for handicapped children where

Congress      left    the   decision    about   how     to     "expend . . .

money[] . . . for the benefit, care, and assistance of the Indians"

up to the agency's discretion).

              But here, applicable regulations cabin the Department's

discretion as to when it can terminate existing grants.                  See 2

C.F.R. § 200.340(a) (2025) (enumerating four ways federal awards

may be terminated); id. § 3474.1 (adopting § 200.340 for the

Department of Education); see Pol'y & Rsch., LLC v. HHS, 313 F.

Supp. 3d 62, 75–78 (D.D.C. 2018) (opinion of K.B. Jackson, J.)

(holding that        the agency's sudden and otherwise-presumptively

unreviewable decision to halt funding to an agency program was

reviewable under the APA because applicable regulations cabined

its termination authority and therefore provided a standard by

which the court could review the agency's decision).                  Nor are

these regulations the only limits placed on the Department.                  The

statutes establishing the TQP and SEED programs set forth the

purposes of the grants, including, for example, the "recruit[ment]

of   highly    qualified . . .   minorities . . .      into    the   teaching

force," 20 U.S.C. § 1022(4), and the provision of "pathways [for

teachers] to serve in traditionally underserved local educational

agencies," id. § 6672(a)(1).           So too has Congress instructed

recipients to "provide assurances to the Secretary," including,

for example, that participants "receive training in providing


                                   - 9 -
    Case 1:25-cv-10548-MJJ       Document 72      Filed 03/21/25     Page 10 of 17



instruction to diverse populations."              Id. § 1022e(b).          Certainly,

given these statutory mandates, the Department could not terminate

a grant merely because a recipient program attempts to prepare

participating school leaders to serve in traditionally underserved

communities; nor could it treat assurances that a program provides

training in the instruction of "diverse populations" as a reason

to terminate an award.           These regulatory and statutory limits on

the Department's discretion thus create "meaningful standard[s] by

which to judge the [agency]'s action."                Dep't of Comm., 588 U.S.

at 772.

                                          B.

           We now turn to the core of the merits: a review of some

of the Department's actions under the basics of administrative law

as developed under the APA.          Like the district court, we focus our

analysis on the States' arbitrary-and-capricious claim.                              "The

APA's   arbitrary-and-capricious           standard        requires      that   agency

action be reasonable and reasonably explained."                    FCC v. Prometheus

Radio Project, 592 U.S. 414, 423 (2021).                    This means that the

agency's reasons "must be set forth with such clarity as to be

understandable."      SEC v. Chenery Corp. (Chenery II), 332 U.S. 194,

196 (1947).      And although judicial review of agency action is

"narrow"   in    scope,     we    must    still     determine       if   the    agency

"examine[d] the relevant data and articulate[d] a satisfactory

explanation     for   its   action       including     a    'rational     connection


                                         - 10 -
    Case 1:25-cv-10548-MJJ    Document 72     Filed 03/21/25    Page 11 of 17



between the facts found and the choice made.'"                    Motor Vehicle

Mfrs. Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983) (quotation marks and citation omitted).

           The    Department     challenges        the    district       court's

conclusion     that   its     termination      letters         lacked   reasoned

explanation.     But, as we have already described, the termination

letters list up to five disjunctive reasons why the supposedly

offending programs are now "inconsistent with . . . Department

priorities."     This leaves grant recipients, not to mention a

reviewing court, to "guess at the theory underlying the agency's

action."   Chenery II, 332 U.S. at 196–97.

           This lack of proper explanation from the Department

likely "will not do," because "a court [cannot] be expected to

chisel that which must be precise from what the agency has left

vague and indecisive."         Id.     Adding to the uncertainty, the

Department has yet to file what it claims to be an administrative

record, even while seeking our expedited attention and equitable

relief.    See Fed. R. App. P. 17.       And without a statement of the

reason or reasons for the terminations, a court cannot say whether

the Department properly considered all "relevant data."                     State

Farm, 463 U.S. at 43.        For example, it does not appear that the

Department properly considered the reliance interests of grant

recipients and program participants or that it accounted for all

relevant impacts of cutting off funding to programs already in


                                     - 11 -
     Case 1:25-cv-10548-MJJ   Document 72       Filed 03/21/25     Page 12 of 17



place.   See DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 30–

31 (2020) (holding the Department of Homeland Security's attempted

recission of the Deferred Action for Childhood Arrivals (DACA)

program arbitrary and capricious in part based on its failure to

consider recipients' reliance interests); State Farm, 463 U.S. at

43 (holding that an agency cannot "entirely fail[] to consider an

important aspect of the problem" before it).

           Nor can we say that "the agency has [not] relied on

factors which Congress [did] not intend[] it to consider" in

disfavoring programs that feature DEI principles.                  State Farm, 463

U.S. at 43; see, e.g., 20 U.S.C. § 1022(4) (stating a statutory

purpose of "recruit[ing] highly qualified individuals, including

minorities     and    individuals   from    other     occupations,        into     the

teaching force"); id. § 1022e(b) (requiring grant recipients to

provide assurances that, among other things, "general education

teachers receive training in providing instruction to diverse

populations").

           In its briefs to us and in an affidavit from its Chief

of    Staff,     the      Department       seeks      to      provide       further

specificity -- stating that its actual reason for terminating the

grants   was   each    program's    use    of   those      funds    to   teach     DEI

principles.     But that supposed specificity is nowhere to be found

in the termination letters, which state in the disjunctive five

possible grounds for termination.           Indeed, this newfound claim of


                                    - 12 -
    Case 1:25-cv-10548-MJJ     Document 72     Filed 03/21/25   Page 13 of 17



clarity approaches the sort of "post hoc rationalization" that we

cannot allow.     See Citizens to Pres. Overton Park, Inc. v. Volpe,

401 U.S. 402, 419–20 (1971) (holding that judicial review is

inappropriate when it would rely on explanations found in the

agency's litigation affidavits).

          Finally, we are at this point not persuaded by the

Department's contention that the district court was "incorrect" in

rejecting the Department's attempts to invoke new priorities as

grounds for the terminations.           See FCC v. Fox Television Stations,

Inc., 556 U.S. 502, 515 (2009).            For one, this argument fails to

address Fox Television's directive that an agency must show "good

reasons for the new policy" and account for "serious reliance

interests"     engendered    by   the    old   one.    Id.      Moreover,       this

argument entirely fails to rebut the States' credible assertions

below   that    the   Department's        priorities     must,    per    federal

regulation, be established through formal rulemaking, which the

Department did not do.        See 34 C.F.R. § 75.105(b) (2024).

          The States claim other failings in the Department's

termination of the ongoing grants.             For example, they argue that

applicable regulations preclude the Department from terminating

grants solely for failure to effectuate agency priorities, and

therefore that the terminations were "not in accordance with law."

5 U.S.C. § 706(2)(A).        But given the apparent defects to which we

point above, the outcome of this motion does not turn on the merits


                                    - 13 -
     Case 1:25-cv-10548-MJJ    Document 72       Filed 03/21/25   Page 14 of 17



of those additional arguments.           Moreover, we choose to say less

rather than more precisely because the record and the parties'

arguments    are   still    developing     in    the   district     court.        The

Department's insistence that we decide its motion with haste

cautions against venturing further than is reasonably necessary to

balance the parties' equitable positions while not yet being in a

position to adjudicate finally the underlying dispute.

                                      C.

            Advancing      speculation     and    hyperbole,      the   Department

asserts that it faces irreparable harm because the TRO allows grant

recipients to request up to the entirety of their award monies

and, indeed, creates the incentive for them to do so within the

fourteen days the order is in effect -- with limited ability for

the Department to recoup the funds should it prevail on the merits.

The States convincingly explain that this is simply not the case,

in   part   because   recipients    submit       reimbursement      requests      for

expenses already incurred.         And, in fact, the Department has not

pointed to any evidence of any attempt at any such a withdrawal by

any recipient.     Nor does the Department rebut the contention that

it could stop such an attempted withdrawal.

            Of course, the district court's order does require the

Department to continue making payments that would otherwise be due

but for the terminations.        As a result, some smaller, incremental

disbursements will no doubt occur while the TRO is in effect.


                                    - 14 -
       Case 1:25-cv-10548-MJJ       Document 72           Filed 03/21/25     Page 15 of 17



Hence, the Department may incur some irreparable harm if it cannot

recoup this money.             But the Department has not yet shown that

recoupment         is   implausible.              See    Nken,     556     U.S.    at     434–35

("[S]imply showing some possibility of irreparable injury fails to

satisfy the second factor." (cleaned up)); Common Cause R.I. v.

Gorbea, 970 F.3d 11, 15 (1st Cir. 2020) (per curiam) (noting that

claims of irreparable harm must not only be "correct as a matter

of theory" but also "as a matter of fact and reality").                                  And, at

bottom,      the    funds   will      go     to    programs        Congress       intended    to

fund    --   in     amounts      that   in    total        do     not    exceed    Congress's

direction -- consistent with priorities previously published by

the Department in accordance with applicable regulations.                                    See,

e.g., Final Priorities -- Effective Educator Development Division,

86 Fed. Reg. 36217 (July 9, 2021).

              In short, any irreparable harm arguably caused by the

TRO is not of a type and magnitude that grabs equities' emergency

attention when compared to the harm that the recipients could well

suffer if the TRO is stayed.               The States provided detailed evidence

below of the practical impacts of cutting off grants -- some which

have already begun to occur and which cannot be fully remedied

with    late-arriving         funds     --   including          staff      layoffs,      program

disruptions, and the halting of stipends to currently enrolled

teachers.         The States also described below how these immediate

effects      will       weaken    the      very         teacher     pipelines       in     their


                                             - 15 -
    Case 1:25-cv-10548-MJJ    Document 72         Filed 03/21/25   Page 16 of 17



jurisdictions that Congress intended to strengthen through the TQP

and SEED programs.       The Department provides no compelling rebuttal

and therefore does not convince us that the second or third Nken

factors tip in favor of a stay.         See 556 U.S. at 426.

          Additionally,        given        our      conclusions       about       the

Department's failure to show a likelihood of success on the merits,

its assertion that the public interest aligns with its interests

in a stay are unavailing.          See League of Women Voters of U.S. v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) ("[T]here is a substantial

public interest in having governmental agencies abide by the

federal   laws    that    govern     their    existence        and    operations."

(quotation marks and citation omitted)).

                                       D.

          Lastly, the Department claims that the TRO is overbroad

for two reasons.     First, the Department calls attention to the

fact that the TRO applies to several grant recipients "that are

located within the [] States but that are only 'affiliated with'

the State or that are local school districts rather than clearly

State instrumentalities."       The district court did not, according

to the Department, "meaningfully explain its understanding that

each recipient is in fact an instrumentality of a plaintiff."                      But

the parties have not yet briefed the relationship between the

States,   their     school     districts,           and     nonprofit      entities

"affiliated" with the States.          Given that a hearing on a motion


                                     - 16 -
    Case 1:25-cv-10548-MJJ        Document 72   Filed 03/21/25   Page 17 of 17



for an actual preliminary injunction is scheduled to be held

shortly, we think it premature to address the adequacy of the

district court's explanation on this point now.

              Second, the Department contends that the TRO does not

allow the Department to reinstate the terminations if and when the

Department corrects the deficiencies upon which the district court

justified the TRO.        But the Department does not claim that it

plans to take any such corrective action before the hearing on the

States' motion for a preliminary injunction, at which point the

district court will consider validly raised arguments by all

parties that it has not yet addressed.              We therefore see no need

to address this issue now.

                                       III.

              For the foregoing reasons, the motion for a stay pending

appeal   is     denied.      An    expedited    briefing     schedule     on     the

Department's appeal will be set by the clerk forthwith.




                                       - 17 -
